    Case 19-32713 Document 28 Filed in TXSB on 05/13/19 Page 1 of 3




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Attorneys for Aviall Services, Inc.


                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

IN RE:                                §     CASE NO. 19-32713 (DRJ)
                                      §
Bristow Group, Inc. et.al.                  ( Joint Administration Requested)
                                      §     CHAPTER 11
                                      §
         Debtor.                      §


                    NOTICE OF APPEARANCE AND REQUEST
                   FOR SERVICE OF NOTICES AND PLEADINGS

        PLEASE TAKE NOTICE THAT the undersigned hereby appear as attorneys
for Aviall, Services, Inc. (“Aviall”). Such counsel hereby enters his appearance pursuant
to section 1109(b) of the Bankruptcy Code and Rule 9010(b) of the Federal Rules of
Bankruptcy Procedure (the “Bankruptcy Rules”), and such counsel hereby requests,
pursuant to Bankruptcy Rules 2002, 3017 and 9007 and sections 342 and 1109(b) of the
Bankruptcy Code, that copies of all notices and pleadings given or filed in this case be
given and served upon them at the following:



                                      Neil J. Orleans
                                      Ross & Smith, PC
                                      700 N. Pearl Street, Suite 1610
                                      Dallas, Texas 75201
                                      Telephone: 214-758-7306
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NOTICE OF APPEARANCE AND REQUEST FOR SERVICE
OF NOTICES AND PLEADINGS – Page 1
     Case 19-32713 Document 28 Filed in TXSB on 05/13/19 Page 2 of 3




       PLEASE TAKE FURTHER NOTICE THAT, pursuant to section 1109(b) of

the Bankruptcy Code, the foregoing demand includes not only the notices and papers

referred to in the Rules specified above, but also includes, without limitation, any notice,

application, complaint, demand, motion, petition, pleading or request, whether formal or

informal, written or oral, and whether transmitted or conveyed by mail, hand delivery,

telephone, telecopy, email, or otherwise filed or made with regard to the referenced cases

and proceedings herein with respect to (1) that affects or seeks to affect in any way, any

rights or interests of any creditor or party of interest in this case, with respect to: a) the

debtor; b) property of the estate, or proceeds thereof in which the alleged debtor may

claim an interest; or c) property or proceeds thereof in the possession, custody, or control

of others that the debtor may seek to use; or (2) that requires or seeks to require any act,

delivery of any property, payment, or other conduct by Aviall.

       PLEASE TAKE FURTHER NOTICE THAT, neither this Notice of

Appearance nor any former or later appearance, pleading, claim or suit shall waive

       (1) Aviall’s right to have final orders in non-core matters entered only after de

           novo review by a District Court Judge, (2) Aviall’s right to trial by jury in any

           proceeding in these cases or any case, controversy, or proceeding related to

           these cases, (3) Aviall’s right to have the District Court withdraw the

           reference in any matter subject to mandatory or discretionary withdrawal, or

           (4) any other rights, claims, action, defenses, including defenses to

           jurisdiction, setoffs, or recoupment’s to which may be entitled, in law or in

           equity, all of which rights, claims, actions, defenses, setoffs, and recoupments

           Aviall expressly reserves.


NOTICE OF APPEARANCE AND REQUEST FOR SERVICE
OF NOTICES AND PLEADINGS – Page 2
     Case 19-32713 Document 28 Filed in TXSB on 05/13/19 Page 3 of 3



Date: May 13, 2019
                                    Ross & Smith, PC


                                    /s/ Neil J. Orleans

                                    Neil J. Orleans
                                    State Bar No. 15303500
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                                    Dallas, TX 75201
                                    Phone: 214-758-7306
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                                    Attorneys for Aviall Services, Inc.


                           CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document

was served on May 13, 2019, via ECF-Electronic Notice on all parties receiving ECF-

Notice in this case.


                                                     /s/ Neil J. Orleans
                                                     Neil J. Orleans




NOTICE OF APPEARANCE AND REQUEST FOR SERVICE
OF NOTICES AND PLEADINGS – Page 3
